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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION



  ERIN ALDRICH, LONDA BEVINS,
  JESSICA JOHNSON, AND BEATA
  CORCORAN, individually and on behalf of
  all others similarly situated,

                 Plaintiffs,
                                                       Case No. 1:20-cv-02310-JRS-MPB
         vs.

  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION, THE BOARD OF                            Judge:   Hon. James R. Sweeney II
  GOVERNORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION,
  and JOHN REMBAO,

                 Defendants.

         BRIEF IN SUPPORT OF MOTION TO POSTPONE SCHEDULING
   CONFERENCE, HOLD L.R. 16-1(C)(1) IN ABEYANCE, AND/OR STAY DISCOVERY

         Defendants the National Collegiate Athletic Association (“the NCAA”) and its Board of

  Governors (“the Board”) (collectively “Defendants”) respectfully move this Honorable Court to

  wait on setting a scheduling conference in this case, hold Local Rule 16-1(c)(1) in abeyance,

  and/or otherwise stay discovery until the motion to dismiss is adjudicated.

  I.     PROCEDURAL POSTURE

         Plaintiffs Erin Aldrich, Londa Bevins, and Jessica Johnson are three former student-

  athletes who competed in track and field at the University of Arizona and/or the University of

  Texas at Austin. They allege that when they were students in the late 1990s and early 2000s,

  they were abused by their track and field coach, John Rembao. In March 2020, they sued the

  NCAA and its Board in the Northern District of California on behalf of a putative nationwide

  class of all former student-athletes at NCAA member institutions from 1992 to the present, and a

  putative nationwide class of all student-athletes coached by John Rembao. See ECF 1 ¶ 348-49.

  They allege that the NCAA should have adopted policies to prevent sexual misconduct by



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  coaches, that the NCAA’s failure to do so constituted negligence and breach of conduct, and that

  the NCAA is vicariously liable for Rembao’s conduct. See generally ECF 1. Plaintiffs later

  amended the Complaint to add another plaintiff, Beata Corcoran, who is a current student-athlete

  at Princeton University and does not allege that she has been sexually abused by Rembao or any

  other coach. See ECF 54 (“FAC”) ¶ 25.

         In the Northern District of California action, the NCAA and its Board moved to dismiss

  and/or strike the First Amended Complaint on the following grounds:

         (a)     the Northern District of California lacked personal jurisdiction over either the

  NCAA or its Board and venue was improper;

         (b)     the Board is not an entity with the capacity to be sued;

         (c)     Plaintiffs Aldrich, Bevins, and Johnson do not have standing to seek injunctive

  relief, as they ceased to be student-athletes decades ago and thus could not show a likelihood of

  future harm from the challenged NCAA policies;

         (d)     Plaintiff Corcoran has no standing to pursue any claim because she alleges

  nothing but the fact that she rows crew at Princeton, has not alleged any actual or threatened

  harm, and thus lacks standing altogether;

         (e)     the 20-year-old claims are all time-barred under the applicable statutes of

  limitations; and

         (f)     Plaintiffs failed to state viable claims for negligence, contract, and vicarious

  liability against the NCAA and its Board. ECF No. 55.

         The Northern District of California dismissed the FAC against the NCAA and its Board

  for lack of personal jurisdiction, agreed venue was improper, and transferred the case against the

  NCAA and its Board to this Court. ECF No. 72. The court did not rule on the merits of the

  other arguments for dismissal raised by the NCAA and its Board.

         In this Court, Plaintiffs have indicated that they plan to file a Second Amended

  Complaint (“SAC”) on October 13, 2020. Defendants anticipate that they will file a motion to

  dismiss and/or strike that SAC and anticipate asserting the same challenges raised in the prior



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  motion (minus jurisdiction and venue) unless Plaintiffs have remedied those deficiencies. The

  parties have proposed to the Court an agreed upon briefing schedule that would have

  Defendants’ motion filed on November 13, 2020 and briefing on the motion to dismiss

  completed with Defendants’ reply brief on January 8, 2021. ECF 111 at 2.

  II.     ARGUMENT

          Defendants respectfully request that the Court wait to set an initial scheduling conference

  and hold the requirement that the parties submit a proposed case management plan in abeyance

  until after the pleadings are resolved. Alternatively, Plaintiffs request that the Court stay

  discovery until after the pleadings are resolved.
          A.      The Court Should Postpone Setting a Scheduling Conference and Hold L.R.
                  16(c)(1) in Abeyance

          Pursuant to Local Rule 16-1(c)(1), the parties must submit a proposed case management

  plan “within 90 days after the case was either filed or removed to the court.” Although this case

  was neither filed nor removed to this Court, application of the rule presumably would require the

  submission of a case management plan by December 7, 2020, 90 days after the case was

  docketed by this Court. The parties have not yet met and conferred pursuant to Rule 26(f), and

  discovery has not commenced in this case under Rule 26(d)(1).

          Defendants respectfully suggest that there is good cause for the Court to postpone the

  Local Rule 16-1(c) requirement and wait to schedule an initial case management conference until
  after the Court adjudicates the anticipated motion to dismiss and/or strike the SAC. If the Court

  accepts the parties’ proposed briefing schedule for that anticipated motion, briefing will be

  completed by January 8, 2021, and the anticipated motion to dismiss and/or strike could dispose

  of the case in its entirety and/or require amendments and further motion practice. It would

  therefore be most efficient for the Court to address scheduling issues after the pleadings are

  resolved and the parties have a more realistic sense of the scope of discovery and timeline for the

  case. Spangler v. Sears, Roebuck & Co., 138 F.R.D. 122, 124 (S.D. Ind. 1991) (noting practice

  of “wait[ing] to issue the scheduling order until it appears that a realistic trial date can be



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  selected which all parties can meet”); Anderson v. Dunbar Armored, Inc., 678 F. Supp. 2d 1280,

  1292 (N.D. Ga. 2009) (stay of discovery and deferral of issuance of scheduling order appropriate

  when defendants challenged the sufficiency of all claims against them).

         B.      If the Court Holds a Scheduling Conference, the Court Should Also Stay
                 Discovery

         Should the Court be disinclined to hold the Local Rule 16-1(c) requirement in abeyance

  and decides to hold a scheduling conference and requires the parties to submit a case

  management plan, however, discovery should not proceed until the pleadings are resolved.

  Under the Federal Rules of Civil Procedure, district courts have broad discretion in deciding the

  extent, sequence, and timing of discovery. Rule 26(b)(1)(C), (d)(2). “Courts have long

  exercised that discretion to stay discovery after a timely filed motion to dismiss.” Dillinger,

  L.L.C. v. Elec. Arts, Inc., No. 1:09-CV-01236-SEB-JM, 2010 WL 1945739, at *1 (S.D. Ind. May

  11, 2010). And “[f]ollowing the Supreme Court's recent adoption of a more rigorous pleading

  standard to spare defendants the costs of discovery into meritless claims, such stays issue with

  even greater frequency.” Id. Cf. 6100 Pac., LLC v. CWI, Inc., No. 317CV00153RLYMPB, 2018

  WL 3127175, at *2 (S.D. Ind. Mar. 16, 2018) (Brookman, J.) (“The court generally is disinclined

  to allow discovery to proceed when a motion for judgment on the pleadings is pending.”)

         Courts in this district use a three-factor test in deciding whether to stay discovery: “(i)

  whether a stay will unduly prejudice or tactically disadvantage the non-moving party, (ii)

  whether the stay will simplify the issues in question and streamline the trial, and (iii) whether a

  stay will reduce the burden of litigation on the parties and on the court.” Madbak v. Anthem Ins.

  Companies Inc., No. 116CV03197SEBMPB, 2017 WL 5075262, at *1 (S.D. Ind. May 23, 2017)

  (Brookman, J.) (internal citation omitted). Because all three factors are met in this case, the

  court should stay discovery.

                 1.      A Stay of Discovery Will Not Prejudice Plaintiffs

         The first factor, whether a stay of discovery will prejudice the non-moving party, favors a

  stay of discovery in this case. The case is in its infancy: no court has adjudicated the substance



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  of any motion to dismiss the pleadings by the NCAA on grounds other than personal jurisdiction,

  and discovery has not yet commenced. Madbak, 2017 WL 5075262, at *1 (finding no prejudice

  in staying discovery where formal discovery had not yet commenced). The NCAA anticipates it

  will file a motion to dismiss and/or strike the Second Amended Complaint on the same bases that

  it moved to dismiss earlier pleadings: Plaintiffs lack standing to seek injunctive relief, have

  brought time-barred claims, and have failed to state a claim. 1 Thus, “discovery is unlikely to

  produce facts necessary to defeat the motion” to dismiss, id. at * 1, given that the NCAA has and

  will move to dismiss on purely legal grounds. Gekas v. Vasiliades, No. 10-3066, 2012 WL

  5948679, at *2 (C.D. Ill. Nov. 28, 2012) (staying discovery where defendant asserted a statute of

  limitations defense in a motion for judgment on the pleadings; holding that plaintiff did not need

  discovery to respond to the pending motion, as he was legally required to rely on his pleadings).

  Accordingly Plaintiffs do not require discovery to respond to it, and will not be prejudiced by

  delaying discovery until the motion is resolved.

                 2.      A Stay May Simplify the Issues in the Case Because the Motion to
                         Dismiss is Case Dispositive

         The second factor, whether a stay will simplify the issues in the case, also favors a stay.

  Defendants, as discussed above, will move to dismiss on standing, statute of limitations, and

  failure to state a claim grounds. A favorable ruling on any one of these issues could dramatically

  narrow the issues before the Court, or dispose of the case altogether. 6100 Pacific, 2018 WL
  3127175, at *2 (finding this factor favored a stay where Defendant’s “motion has the potential to

  be dispositive on the entire litigation” and formal discovery had not yet commenced). The

  motion also raises a threshold defense (standing to seek injunctive relief), additionally weighing

  in favor of a stay. Panther Brands, LLC v. Indy Racing League, LLC, No.

  114CV00472TWPTAB, 2014 WL 11411864, at *1 (S.D. Ind. Oct. 15, 2014) (“A stay is

  appropriate where the motion to dismiss can resolve the case, where ongoing discovery is


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   Plaintiffs have represented to Defendants that the SAC will add background facts that have no
  bearing on any claims or defenses and otherwise conform the complaint to the new forum.



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  unlikely to produce facts necessary to defeat the motion . . . or where the motion raises a

  threshold issue of standing, jurisdiction, or qualified immunity.” (internal citation and quotation

  omitted)); see also Nexstar Broad., Inc. v. Granite Broad. Corp., No. 1:11-CV-249, 2011 WL

  4345432, at *3 (N.D. Ind. Sept. 15, 2011) (discovery stay appropriate where defendant moved to

  dismiss for lack of standing and failure to plead necessary elements of claims, all potentially

  dispositive threshold issues). The stay therefore could simplify the case considerably—or

  indeed, end it altogether.

                  3.      A Stay May Significantly Reduce the Burden on the Parties and the
                          Court

          Because a stay could limit the issues on which there is discovery, the stay could reduce

  the burden of discovery on the parties and consequently, the potential burden of discovery

  disputes on the court. This case is pled as a class action, and the proposed Nationwide Class

  includes all student-athletes from 1992 to the present. FAC ¶ 349. Plaintiffs plead that there are

  more than 460,000 student-athletes competing in a single year. FAC ¶¶ 349, 353. Accordingly,

  given the millions of potential class members, the extraordinarily broad temporal period, and the

  nature of Plaintiffs’ claims (which involve the NCAA’s policies towards and purported

  contractual relationship with every single NCAA student-athlete across nearly 1,100 schools

  over almost three decades), discovery could turn out to be costly and onerous. See Ashley W. v.

  Holcomb, No. 3:19-CV-00129-RLY-MPB, 2019 WL 9673894, at *2 (S.D. Ind. Oct. 31, 2019)
  (Brookman, J.) (finding, in a case involving 22,000 putative class members and a five-year

  timespan, that “[g]iven the allegations involved, the size of the purported class, and the temporal

  scope of the claims this case is susceptible to burdensome, costly, and contested discovery,”

  favoring a discovery stay during the pendency of a motion to dismiss).

          What’s more, as discussed above, the motion to dismiss and/or strike could dispose of

  this complex litigation in its entirety (if the Court agrees Plaintiffs’ claims are time-barred or that

  Plaintiffs fail to state a claim), or at least substantially narrow the issues and relief sought the

  case (such as, for instance, if the Court agrees no Plaintiff has standing to seek injunctive relief).



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  Thus, delaying discovery would preserve the parties’ resources to focus discovery on the issues

  that ultimately survive the motions to dismiss. See id. (discovery stay appropriate during the

  pendency of a motion to dismiss where “[a]n entry on the motion to dismiss [could] be

  dispositive of this complex litigation” or “could greatly narrow” the scope of discovery); 6100

  Pacific, 2018 WL 3127175 at *2 (noting that “a discovery stay will conserve parties' resources

  and preserve the opportunity to conduct further discovery if . . . any part of the case survives the

  motion for judgment on the pleading”); Madbak, 2017 WL 5075262, at *1 (same).

  III.   CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court wait to set a

  scheduling conference, hold L.R. 16-1(c)(1) in abeyance, and/or stay discovery until after the

  pleadings are closed.




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  DATED: October 12, 2020        FAEGRE DRINKER BIDDLE & REATH LLP



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2020, a copy of the foregoing was filed electronically

  with the Clerk of the Court using the Court’s CM/ECF system. Parties may access this filing

  through the Court’s system.




                                                          /s/ Andrea Roberts Pierson




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